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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                             CASE NO.: 19-cr-20849-WILLIAMS

  UNITED STATES OF AMERICA,

         Plaintiff,
  v.

  TAIMY NAVARRO,

         Defendant.


                   DEFENDANT, TAIMY NAVARRO’S
       UNOPPOSED MOTION FOR EXTENSION OF TIME TO SURRENDER

         Defendant, TAIMY NAVARRO, by and through her undersigned counsel,

  in the interests of justice and based upon the extraordinary national emergency that

  is currently taking place because of the COVID-19 pandemic, respectfully requests

  this Honorable Court to extend the March 8, 2021 date by which she is required to

  surrender to the United States Marshal Service to begin serving her term of

  imprisonment.

         1.     Ms. Navarro pled guilty to one count of Aggravated identity theft and

  was sentenced on August 24, 2020, to 24 months in prison.

         2.     Judgment was entered on August 25, 2020.



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        3.    This Honorable Court allowed the Defendant to self-surrender to the

  U.S. Marshalls on March 8, 2021.

        4.    Ms. Navarro is a 44 year old woman who has absolutely no prior

  contacts with the law.

        5.    Ms. Navarro has never committed a crime of violence; thus, Ms.

  Navarro is not a danger to the community.

        6.    Ms. Navarro resides with and is the care giver for her mother, brother

  and six year old grand-niece. Her mother is in her early eighties and has recently

  undergone knee replacement and back surgery. Here brother, who is disabled,

  suffers from a bipolar disorder and is recently in remission of lymphatic cancer.

  Ms. Navarro shoulders the burden of supporting and caring for her family.

  Although she has no children of her own, Ms. Navarro is helping to raise her

  brother’s granddaughter. In addition to continuing her education, Ms. Navarro

  continues to assist family members in everyday matters such as taking her mother

  and brother around for medical appointments, dispensing medications, doing

  homework with her grandniece and preparing meals.

        7.    Ms. Navarro would argue that since the date of her sentencing the

  world has quickly become a different world and it is getting worse by the day due

  to the Covid-19 virus.

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           8.       When Ms. Navarro was sentenced there was a serious epidemic in the

  U.S.

           9.       Ms. Navarro would urge this Honorable Court to consider that prison

  conditions create the ideal environment for the transmission of contagious disease;1

  that it is obvious and well known that inmates move in and out of prison from all

  over the country; and that individuals who work in the those facilities, including

  correctional officers and care and service providers, go in and out daily, without

  screening.

           10.      Ms. Navarro would urge this Honorable Court to consider as well that

  incarcerated people have poorer health than the general population, and even at the

  best of times, medical care is limited.2

           11.      Ms. Navarro would also posit that, according to public health experts,

  incarcerated individuals “are at special risk of infection, given their living

  situations” and “may also be less able to participate in proactive measures to keep

  themselves safe;” [therefore] “infection control is challenging in these settings.”3


  1 Joseph A. Bick (2007). Infection Control in Jails and Prisons. Clinical Infectious Diseases 45(8):1047-1055, at
  https://doi.org/10.1086/521910.

  2 Laura M. Maruschak et al. (2015). Medical Problems of State and Federal Prisoners and Jail Inmates, 2011-12.
  NCJ 248491. Washington, D.C.: U.S. Department of Justice, Bureau of Justice Statistics, at
  https://www.bjs.gov/content/pub/pdf/mpsfpji1112.pdf.

  3 “Achieving A Fair And Effective COVID-19 Response: An Open Letter to Vice-President Mike Pence, and Other
  Federal, State, and Local Leaders from Public Health and Legal Experts in the United States,” (March 2, 2020), at
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          12.      Ms. Navarro would urge this Honorable Court to consider that in the

  U.S. steps are already being taken in some jurisdictions to facilitate the release of

  elderly and sick prisoners and to reduce jail populations by discouraging or

  refusing the admission of individuals arrested on non-violent charges.4

          13.      Ms. Navarro would ask this Honorable Court to consider Davis v.

  Ayala, 135 S. Ct. 2187, 2209 (2015) (Kennedy, J., concurring), which called for

  heightened judicial scrutiny of the projected impact of jail and prison conditions on

  a defendant.

          14.      Ms. Navarro would urge this Honorable Court that, in the face of this

  pandemic, from Ms. Navarro’s perspective, her life – not just her liberty – is on the

  line, creating a powerful incentive to abide by any conditions that the Court may

  impose.

          15.      Due to Ms. Navarro’s age, a vaccine is still not available to her at this

  time. Therefore, incarceration at this time would unnecessarily put her life at risk.


  https://law.yale.edu/sites/default/files/area/center/ghjp/documents/final_covid-
  19_letter_from_public_health_and_legal_experts.pdf.
  4 For instance, in New York, Brooklyn District Attorney Eric Gonzalez, joined by public health experts, has asked
  Governor Cuomo to grant emergency clemencies to elderly and sick prisoners (Sarah Lustbader, Coronavirus:
  Sentenced to COVID-19, The Daily Appeal (Mar. 12, 2020) at https://theappeal.org/sentenced-to-covid-19/.);
  Cuyahoga County (Ohio) is holding mass pleas and bail hearings to reduce the current jail population
  (https://www.cleveland.com/court-justice/2020/03/cuyahoga-county-officials-will-hold-mass-plea-hearings-to-
  reduce-jail-population-over-coronavirus-concerns.html); Mahoning County (Ohio) jail is refusing all non-violent
  misdemeanor arrestees (https://www.wkbn.com/news/coronavirus/mahoning-county-jail-refusing-some-inmates-
  due-to-coronavirus-outbreak/); see also Collin County (TX) (https://www.dallasnews.com/news/public-
  health/2020/03/12/facing-coronavirus-concerns-collin-county-sheriff-asks-police-not-to-bring-petty-criminals-to-
  jail/).
                                                     Page 4 of 6

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        16.    Ms. Navarro recognizes fully that she – and no one else – placed

  herself and her family in this position and deeply regrets it.

        17.    During the pendency of these proceedings Ms. Navarro has

  demonstrated time and again that she has returned to the law abiding, decent

  person she was before making this lamentable mistake.

        18.    Undersigned counsel communicated with Assistant United States

  Attorney Timothy Abraham, who indicated that the government does not object to

  this motion being granted.

        19.    Undersigned counsel certifies that this Motion is filed in good faith,

  not for the purpose of delay, but so that justice may be done.

        WHEREFORE, Defendant, TAIMY NAVARRO, respectfully requests that

  the Court grant her instant Motion for the foregoing reasons.

        DATED: February 24, 2021.

                                                  Respectfully submitted,

                                                  Donet, McMillan & Trontz, P.A.

                                             By: /s/ Larry T. McMillan
                                                Larry T. McMillan, Esq.
                                                Attorney for Ms. Taimy Navarro




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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on February 24, 2021, undersigned counsel

  electronically filed the foregoing Defendant’s Motion for Extension of Time to

  Surrender with the Clerk of the Court using CM/ECF.

                                                 Donet, McMillan & Trontz, P.A.

                                           By: /s/ Larry T. McMillan
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